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                       IN THE UNITED STATES D ISTRICT CO URT
                      FOR THE W ESTERN D ISTRICT OF VIRGINIA                    JuL c. uEku LERK
                            CHA RLOU ESVILLE DIV ISION                        sY:
                                                                                           c    x
SAVV Y REST,INC.,

       Plaintiff,                                   CivilA ction N o.3:18CV00030

                                                    M EM O R AN DUM OPINIO N

SLEEPIN G ORGAN IC,LLC,                             By:Hon.Glen E.Conrad
                                                    SeniorU nited StatesD istrictJudge
       D efendant.



       This case ispresently before.the courton the plaintiff's m otion for leave'to file a second

am ended complaint. Forthereasonssetforth below ,the courtw illgrantthe plaintiff s motion.

                                         Backzround

       Savvy Rest,lnc.(Gçsavvy Resf')and Sleeping Organic,LLC (ssleeping Organic'')are
competing retailers of m attresses and other bedding products. O n April 13,2018,Savvy Rest

tiled this action against Sleeping Organic,alleging violations ofthe Lanham Act and V irginia

law . Savvy Restasserts,am ong otherclaim s,thatSleeping Organic violated the Lanham Actby

falsely advertising on its com m ercial w ebsite that Sleeping O rganic's m attresses are free of

chem icals and certified to m eet the requirem ents of the Global Organic Textile Standard



       On June 7, 2018, Sleeping Organic m oved to dism iss the case for lack of personal

jurisdiction andimpropervenueor,inthealternative,totransferthecasetotheDistrictofSouth
Carolina. The courttook the m otion under advisem ent and perm itted the plaintiffto engage in

limited jurisdictionaldiscovery. Upon the completion of such discovery,the parties Gled
supplementalbriefsontheissuesofpersonaljurisdictionandvenue.




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       In its supplem ental brief, Sleeping Organic argued for the tirst tim e that Savvy Rest

Gslacks standing to bring any false advertising claim s in this case.'' D ef.'sSupp'lBr.9,Dkt.N o.

25;see also id.at 1,5,7. ln particular,Sleeping Organic asserted thattGsavvy Restdoesnotown

the G OTS tradem ark nor have any organizationalinterestthatwould provide standing for Savvy

Restto assert a claim for false advertising from alleged m isuse of the G OTS tradem ark or of

m isstatements regarding the organic m akeup of Sleeping Organic's products.'' Id.at 5. The

courtperm itted the partiesto tile additionalbrieting on thisand otherissues. The courthas since

denied the m otion to dism issortransfer.

       ln the interim ,Savvy Restrequested leave to am end its com plaint on two occasions. In

its proposed second am ended complaint,Savvy Rest includes additionalallegations relevantto

the issue ofw hether it can invoke the Lanham Act's cause of action for false advertising. The

requestto am end hasbeen fully briefed and isripe forreview .

                                            D iscussion

       A fterthe period foram ending a com plaintas a m atter of righthas expired,ç&a party m ay

am end itspleading only w ith the opposing party'sw ritten consentorthe court's leave.'' Fed.R.

Civ.P.15(a)(2).Rule15providesthatIeaveshouldbefreelygivenwhenjusticesorequires.Id.
çç-f'
    he Supreme Courthas declared that çthis m andate is to be heeded.''' Edw ards v.City of

Goldsboro,178 F.3d 231,242 (4th Cir.1999)(quoting Foman v.Davis,371U.S.178,182
(1962:.tThelaw iswellsettledSthatleavetoamendapleadingshouldbedeniedonlvwhenthe
amendmentwouldbeprejudicialtotheopposingparty,therehasbeenbadfaithonthepartofthe
movingparty,ortheamendmentwouldbefutile.''' J-t.s(emphasisin original)(quotingJohnson
v.OroweatFoodsCo.,785F.2d503,509(4thCir.1986:.
       Upon review of the record and applicable caselaw, the court concludes that leave to

am end m ustbe granted in this case. There is sim ply no basis forthe courtto believe thatthe

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proposed amendments would be prejudicial or that the plaintiff has acted in bad faith.
A dditionally, for the follow ing reasons, the court tsnds the defendant's slnding argum ents

unpersuasive. A ccordingly,the proposed am endm entsw ould notbe futile. See Save OurSound

OBX.lnc.v.N.C.Dep'tofTransp.,914F.3d213,228(4thCir.2019)(GW proposedamendment
is...futileiftheclaim itpresentswouldnotsurviveamotiontodismiss.').
       Section 43(a)(1)(B)ofthe Lanham Actcreatesa causeofaction forfalse advertising.
Lexmark lnt'l.lnc.v.Static ControlComponents.lnc.,572 U.S.118,122 (2014). This
provision forbids the use ofany çtfalse or m isleading description of fact,or false or m isleading

representation of fact, which       in com mercial advertising or prom otion, m isrepresents the

nature,characteristics,qualities,or geographicalorigin of his or her or another person's goods,

serdces,orcommercialactivities.'' 15U.S.C.j 1125(a)(1)(B). Sd-f'
                                                               hestatuteauthorizessuitby
Gany person who believes that he or she is likely to be dam aged' by a defendant's false

advertising.''Lexmark,572U.S.at129(quoting 15U.S.C.j1125(a)(1)).
       A plaintiff seeking to bring suit under a federalstatute m ust show not only that ithas

constitutionalstanding underA rticle 111,butthatithas a cause of action underthe statute. ld.at

125,128. To satisfy A rticle 1lI'sd'm inim um requirem ents,''the tdplaintiffm usthave suffered or

be imminently threatened with 'a concrete and particularized Ginjury in fact'that is fairly
traceable to the challenged action of the defendant and likely to be redressed by a favorable

judicialdecision.'' ld.at125,,129 (citing Luian v.DefendersofW ildlife,504 U.S.555,560
(1992:. ln thiscase,the originaland proposed amended complaintsallege thatSavvy Rest
suffered a lossofsales and goodw illas a resultof Sleeping Organic's actions. Such allegations

çEgive itstanding underArticle 111to press its false-advertising claim.'' Id.at 125 (fnding
(sallegationsoflostsalesand damage to gthe plaintifrslreputation''suftkientatthepleading
stage);seealsoFrompoviczv.NiaxaraBottlinz.LLC,313F.Supp.3d603,609(E.D.Pa.2018)



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(siplaintiff'sComplaintallegesthatDefendants'marketingandsaleoftheirdeceptivelymarketed
spring w aterisdam aging to the reputation and goodw illofPlaintiff,and thatD efendants'actions

hindered hissales. Thus,Plaintiff has sufficiently alleged a legally protected interest,and,thus,

aninjury-in-factsufGcienttoconferstanding.'')(internalquotationmarksomitted).
       The courtlikew ise concludes that Savvy RestGGfalls w ithin the class ofplaintiffs whom

Congresshasauthorizedto sueunderj 1125(a).''1 Lexmark,572 U.S.at128. $<To invokethe

Lanham Act'scauseofactionforfalseadvertising,aplaintiffmustplead(andultimatelyprovel''
(1)ttan injurytoacommercialinterestinsalesorbusinessreputation''(2)thatwasG<proximately
caused by the defendant's representations.'' Id.at 140. W ith respectto the Grstelem ent,Savvy

Restclaim sthatthe defendanthas m isrepresented the nature,characteristics,and qualitiesofthe

defendant'sm attresses by falsely claim ing thatthe m attressesare Go Ts-certified and chem icali

free. Savvy Restalleges thatthe defendantttcan sellits falsely advertised m attresses form uch

low erprices''because itSçdoes notincurexpensesw hich are required to m anufacm re and sell...

genu'ineGOTS CertitiedMattresses.''2dAm.Compl.!72,Dkt.No.3i-3. SavvyRestasserts
that,as a result of the defendant's false advertising,Savvy Rest Ssis losing sales and profits it

wouldotherwisehavegained.''1d.jg80.SavvyRestfurtherallegesthatthedefendant'sactions
have a tendency to m ake consumers believe that Savvy Restovercharges for its own organic

m attressesthatareG o-fs-certified,and thusthatthe defendant'sactions have also harm ed Savvy

Rest'sreputationandgoodwill.Id.!!78,113.TheparticularinjuriesallegedbySavvyRest-
lostsalesanddamagetobusinessreputation- tçareinjuriestopreciselythesortsofcommercial
interests the A ct protects.'' Lexm ark, 572 U .S. at 137. Consequently, at this stage of the


         1Althoughthisinquiry hasbeenreferred to inthepastasç<prudentialstanding,''theSupremeCourt
clarifiedin Lexmark thatsuch labeltGisamisnomerasappliedtothezone-of-interestsanalysis,which asks
whetherthisparticularclassofpersonshasarighttosueunderthissubstantivestatute.''Lexmark,572 U.S.at
127(internalquotationmarksandalterationomitted).
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proceedings,the courtconcludesthat Savvy Rest's allegations satisfy the firstelem ent. ld.;see

also Frompovicz v.Niagara Bottling.LLC,337 F.Supp.3d 498,505-06 (E.D.Pa.2018)
(findingthiselementmetwheretheplaintiffallegedthatitsbottledwatersalesweredepressedas
a resultofmisleading labels on the defendants'water bottles);Outlaw Lab..LP v.US 1
NoveltiesLLC,No.1:18CV02965,2018U.S.Dist.LEXIS 222223,at*19(N.D.Ga.Nov.28,
2018)(holdingthattheplaintiff'sallegationsofeconomicand reputationalharm weresufficient
atthepleadingstagetomeetthiselement).
       Savvy Resthas also sufficiently alleged thatitsinjuries were proximately caused by
SleepingOrganic'spurportedmisrepresentations.SeeLexmark,572U.S.at132-33(notingthat
the Court has ççconstrued federal causes of action in a variety of contexts to incorporate a

requirem çntofproxim ate causation''and thatsuch requirem ent(Ggenerally bars suits for alleged

harm thatis Ctoo remote'from the defendant's unlawfulconducf'). Unlike the parties in
Lexm ark,Savvy Restand Sleeping Organic are direct com petitors. Thus,this case presents a

Ssclaksic Lanham Act false-advertising claim'' in which a competitor induces customers to

purchase itsproductsby m aking false statem ents aboutits ow n goodsorthe competitor'sgoods.

Id. A long the sam e lines,the diversion ofsales alleged by Savvy Restisttthe paradigm aticdirect

injury from false advertising.'' 1d. Consequently,the courtconcludes that Savvy Rest's
allegations also satisfy the proxim ate cause inquiry. See Steer M ach.Tool& Die Corp.v.SS

NilesBottleStonpers.LLC,331F.Supp.3d429,434(M.D.Pa.2018)(findingthiselementmet
w here the partiesw ere directcom petitors and the plaintiffalleged thatit(shas been and is likely

tocontinuetobeinjuredinitsbusinessreputation,andloserevenueandprofits''asaresultofthe
defçndants'falseadvertising).
       Finally,the factthat Sssavvy Rest does notown the G OTS tradem ark''is notfatalto its

claim offalse advertising. Def.'s Supp'lBr.9,D kt.N o.25. çEW hile m uch of the Lanham A ct




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ad&essesthemsstration,use,and lnfrlngementofe demarksand relatedmsrks,j43(a)...
 goesbeyond tradetark protecfom'' DastarCop .v.'
                                               fwenfeth Centurv Fox FM Com .,539

 U.S.23,28-29(2003).Asindcatedabove,SubsectionB,which dee estllecauseofacionfor
 falseadveë sing,ttcxatesllabilityforçmisrepresentEingqthenature,chnmderisics,qlmllties,or
 geon phicorigin'ofgoods.'' Belm ora LLC v.BayerConspm erCare AG.819 F.3d 697,706

'(4thCir.2016)(quoting 15U.S.C.j11254a)41)@ )). Thus,tltheplainlanguageofj43(a)does
 notxquirethataplainiffpossess...aH demark in U.S.commemeasan elementofthe cause

 ofacdon-''Id.
      !Forallofthese reasons,the courtconcludestbatSavvy Resthas alleged an adequate

 baslbtoproieedtmderj43(a)ofthel.nnbam Act.W hetherSavvyRestcanultlmstelyproveits
 allegaionsis,ofcom se,anotberm atter. rl'he courtholdsonly 1 attheplaintlffttisene ed to a

 chancetoproveitscase.''Lexmark 572 U.S.at140.
                                          Cqnd usion

       FortheD asonssktedatlleCOIM willgrantSaw Rest'sm oGon forleaveto f1easecond

 amendedcomplaintz n eClerkisdlrectedtosendcopiesofthismemorandum opinionandthe
 accompanying orderto allcounselofrecord.
       DATBD:'rilis IS       day ofApril, 2019.




                                               SeniorUnitejStatesDlstrictJudge




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         rhephintlœ smoionforleavetoflleaflrstamendedcomplaintwillberlimnimqed asmoot
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